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           UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF GEORGIA
                 ATLANTA DIVISION
   BERKELEY VENTURES II, LLC,

        Plaintiff,

   v.                                              Case No.: 1:19-CV-05523-SDG

   SIONIC MOBILE CORPORATION
   and RONALD D. HERMAN

        Defendants.                                JURY TRIAL DEMANDED

                          CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing

Withdrawal of Objection to Defendants Subpoena to Third Party Linda Rossetti with

the Clerk of Court using the CM/ECF filing system, which will send email

notification of such filing to counsel.

        This 31st day of March, 2021.

                                          By: /s/ Jason B. Godwin
                                          Jason B. Godwin, Esq.
                                          Georgia Bar No. 142226

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